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                                                United States o f 1\menca
     A"£~'!»<,~.:'-.,;r.,;,··~           FEDERAL TRADE COMMISSION
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                                                                                              DO NOT DOCKET/
                                                                            MOTION TO DELAY ECF.PENDING

                                                                                        Encrypted Thumb Drive
                                                                                               Passcode: 84671

                                                   October 31, 2018

VIA HAND DELIVERY

The Honorable Peter J. Messitte
United States District Court
District of Maryland, Southern Division
6500 Cherrywood Lane, Suite 4 7 SA
Greenbelt, Maryland 20770
(301) 344-0632


          RE:            Federal Trade Commission v. AmeriDebt, Inc., No. 03-cv-3317-PJM (D. Md.)
                         Federal Trade Commission v. Ecological Fox LLC, No. _-cv-_ _ _(D. Md.)
                         In re Sanctuary Belize Litigation (proposed)
                         Overview of FTC Bx Parte Filing_$_

Judge Messitte,

         Today, the FTC submitted multiple filings in AmeniJebt and a newly ·flied and closely··related
matter, Ecological Fox. The filings concern lot sales from land in Belize that the Court addressed
during the 2015 supervised release hearing in United States v. Pukke. The Commission a.Ueges that
Andris Pukke and subordinates operate the largest real estate scam the Commission has ever
investigated, in violation of multiple Court orders and federal law. Counsel apologizes in advance
for the extensive filings. Although we have done everything in our power to pate down the
pleadings, the complexity, sophistication, and reach of defendants' vast scheme make less extensive
filings impractical. To help navigar thes Gli.ngs, this letter provi k fl,n ove.rvi w of each, and asks
the Court to temporarily seal them (and ('(l delay uocketing th · m via ECF) to maximize the
likelihood of victim redress.

       The Commission's filings in both matters include several we ask the Court to address as
soon as possible:
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                                                                         The Honorable Peter J. Messitte
                                                                        Ameridebt/ Ecologka/ Fox'---Page 2


              Motions To Delay EC ·. Substantively identical motions in AmeriDebt and
              Ecological Fox ask ·the Court to delay ECF until the Court can evaluate the
              Commission's other filings. The FTC also submits proposed orders.

              Motions-To Temporarily S al. Substantively identical motions in AmeriDebt and
              Ecofogical l-'ox ask the Court to seal both matters for a short period until service,
              and for certain related relief designed to expedite and maximize public disclosure
              after service while complying with applicable law. The FTC also submits
              proposed orders.

              Motion for an E.x· Pari!! TRO and Supporting Memorandum. The FTC
              conducted a nonpublic investigation (with undercover components) concerning
              misrepresentations Pukke and others make to sell lots in Belize to American
              consumers. In the newly-ftled Ecologkal f-<ox matter, the FTC's motion for an ex
              parte TRO seeks a temporary asset freeze, writs ne exeat, immediate access to
              business premises, a temporary receivership (we propose to use Robb Evans &
              Associates, the AmeriDebt receiver), and other equitable relief meant to maximize
              the chance that victims recover. As the motion explains, notice to defendants
              likely will cause the dissipation of assets, destruction of evidence, and potential
              ilight of cetta.Ln pm·ties. 1

              Proposed E"-· Parte TR . The FTC files a proposed ex parte TRO in Ecological
              Fox consistent with the Memorandum.

              Rule 65(b)(1) Certification. In compliance with Rule 65(b)(1), the undersigned
              provides a certification supporting the need for ex parte relief in Eco/ooti:a/ Fox.
              The certification concisely summarizes certain major factual issues.

              Evidence Supporting rhe Ex 1 attc TRO. The FTC files approximately forty
              declarations (and two expert reports) supporting the motion. There are more
              than 14,000 pages of evidence attached to the declarations, which the FTC has
              provided to the Clerk's Office in hard copy and on encrypted thumb drives. 2

              Motion 'fo futend Page .~irni ts. The FTC files a motion to extend the page limit
              associated \vlth the motion f01: an e.,·pwtc TRO in E'Oiogiml f-<ox (and a proposed
              order). We appreciat the ourt's attention to this case, and we apologize for the
              filing's length.   However, the matter is critical to the Commission, the
              misconduct alleged is serious, and the record is extensive.

       The FTC also filed additional substantive and procedural filings in both matters including
three contempt motions in Ame1iDebt. Notably, the supporting evidence f t th se motions includes
the same set of materials supporting the FIC's motion for an ex pcnte 'TitO in Eco/Q,__~ical l ·ox.



        1
             The matters involve the FTC's coordination with multiple local, federal, and international
stake?-'?ld_ers. There ar also certain safety considerations. If the Cour ·grants the 1endihg motions,
to ID111ll;l11Ze the chance that the matt rs are unsealed w hile American consumers tom lots in rem te
southern Belize, the FTC seeks to conduct service and the immediate access t~ business premises on
Wednesday. November 7.
        2
            Instructions regarding the encrypted thumbdrive are enclosed (passcode 84671).

                                                      2
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                                                                         The Honoral'ile Peter J. Messltte
                                                                         Ameridebt/Bcological Pox-Page 3


                M ti< n__.fQ.L~.Q!1t.~;..J,.BLO'el.e1::pa.rketing) and_ upF-QrtiQg Memorandum. This
                motion alleges the misrepresentations Pukke and parties acting in concert with
                him (Peter Baker and John Usher) make while telemarketing lots violate the
                Court's permanent injunction inAmeriDebt.

                Motion fat ContemP-t (Parcel of l,artd .in Iklize) a.nd ' upporting M~,t,notandum.
                This motion alleges that Pukke and parties acting in concert with him (Baker and
                Usher) conspired to surreptitiously retain control over a parcel of land in
                southern Belize (now used for unlawful lot sales) notwithstanding multiple
                orders in Ameri.Debt that Pukke and Baker relinquish control of the parcel.

                Moti n fat onternpl (Payments to John Vipulis) and Supporting M morandQm.
                This motion alleges that Pukke is using illegally-obt.ained lot sale proceeds to
                repay the loan Vipulis made to help conclude Pukke's coercive incarceration in
                AmenDebt despite the Court's order that Pukke and Vipulis subordinate that debt
                to the Commission's still-unsatisfied AmeriDebt judgment.

                Motion to Consolidate. Identical motions (in both AmeriDebt and Ecological Fox)
                ask the Court to consolidate these matters because the factual issues they involve
                are essentially the same. The FTC also submits proposed orders.

                Requests for Entry of Appearance. The FTC's counsel ftled requests for entry of
                appearance (in both APm1.'Debt and E~·ologz(:al Fox).

       We would welcome the opportunity to be heard on the various pending motions, and we can
appear at any time given only a few hours' notice.




Enclosures

Motions To Delay ECF (Tab 1) (and proposed orders (Tab 2))
Motions To Seal (Tab 3) (and proposed orders (Tab 4))
Motion for Ex Parte TRO and Supporting Memorandum (fab W
Proposed Ex Parte TRO (Tab 6)
Rule 65(b)(1) Certification (fab 7)
Page Limits Motion (l'ab 8) (and p.roposed order (I'ab 9))
Encrypted Thumb Dri e Instructions (Passcode 84671) (Tab 10)


       3
           As the motions to seal address, the TRO Memorandum contains a few redacted words
conc~g one dcfen.dant's use of corpo ·ate asset £or expenses related to a health issue, lbe 1;1at1J e
of wJucb   1·   not matextal. Counsel will prov1de the C mi. witb an unredacted ve.r ·ion promptly upon
request.

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